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16
                                UNITED STATES DISTRICT COURT
17
                                       DISTRICT OF NEVADA
18

19     MARINA DISTRICT DEVELOPMENT                     Case No. 2:20-cv-01592-GMN-BNW
       COMPANY, LLC d/b/a BORGATA
20     HOTEL CASINO & SPA,                             JOINT NOTICE OF WITHDRAWAL OF
       Plaintiff,                                      MOTIONS REGARDING THE FORENSIC
21     v.                                              PROTOCOL AND JOINT REQUEST TO
       AC OCEAN WALK, LLC d/b/a OCEAN                  CANCEL JANUARY 12, 2021 HEARING
22     CASINO RESORT; WILLIAM
       CALLAHAN; KELLY ASHMAN
23     BURKE,
       Defendants.
24
25
            The Parties, by and through their undersigned counsel, in order to resolve the pending
26
     motions regarding the forensic examination of William Callahan’s devices (Plaintiff’s motion to
27
28   compel compliance [ECF No. 126], Defendants’ motion for protective order [ECF No. 128], and

                                                   1
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 1   Defendants’ cross-motion to compel compliance [ECF No. 131]) (collectively the “Motions”), and
 2   to avoid the need for the Court’s intervention regarding the Motions, have reached an agreement
 3
     on the protocol governing the forensic examination of William Callahan’s devices (the “Protocol”).
 4
     The parties have also reached agreement that Callahan’s devices will be made available for
 5
     collection on Monday, January 11, 2021 at 12:00 p.m. EST, subject to unforeseen delay caused by
 6

 7   mail or other matters outside the parties’ control. Accordingly, the Motions are moot and no longer

 8   require adjudication. The Parties stipulate as follows:

 9      I.        Plaintiff Withdraws Its Motion to Compel Compliance
10             In light of the Parties’ agreement regarding the Protocol, Plaintiff’s motion to compel
11   compliance [ECF No. 126] is now moot. Plaintiff withdraws the motion and all requested relief
12   therein.
13      II.       Defendants Withdraw Their Motion for Protective Order and Cross-Motion to
                  Compel Compliance
14
               In light of the Parties’ agreement regarding the Protocol, Defendants’ motion for
15
     protective order [ECF No. 128] and cross-motion to compel compliance [ECF No. 131] are now
16
     moot. Defendants withdraw their motions and all requested relief therein.
17
        III.      The January 12 Hearing Is No Longer Necessary
18

19             In light of the Parties’ withdrawal of the Motions [ECF Nos. 126, 128, and 131] and all

20   requested relief therein, the hearing scheduled for January 12, 2021 before Judge Weksler is no

21   longer necessary. The Parties jointly request that the January 12 hearing be cancelled.
22

23
     Dated: January 8, 2021
24

25   JACKSON LEWIS P.C.                                    REID RUBINSTEIN & BOGATZ

26
           /s/ Paul S. Trimmer                             /s/   I. Scott Bogatz
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12                                                        Attorneys for Defendants

13
14                                            ORDER

15   Before the Court is the parties' joint notice of withdrawal of motions regarding the forensic
     protocol and joint request to cancel the January 12, 2021 hearing. ECF No. 150. On the basis
16
     of good cause, IT IS ORDERED that the parties' joint request is GRANTED and the January 12
17   hearing is therefore VACATED.

18   Further, ECF Nos. [82] and [84] are DENIED without prejudice, as this case is stayed with
     regard to the individual defendants and the case has been transferred to a different court with
19
     regard to the corporate defendant. See ECF Nos. [91], [118].
20
     Finally, the February 19, 2021 hearing on the motions at ECF Nos. [137] and [145] is
21   VACATED. The Court will instead issue a written order on those motions and the motion at
     ECF No. [115].
22
23                                                       IT IS SO ORDERED

24                                                       DATED: 10:44 am, January 11, 2021

25
26
                                                         BRENDA WEKSLER
27                                                       UNITED STATES MAGISTRATE JUDGE

28

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